Case 1:19-cv-01794-VJW Document 13 Filed 09/30/21 Page 1 of 2

In the Anited States Court of Federal Clans

No. 19-1794C

(Filed September 30, 2021)

NOT FOR PUBLICATION
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FLORDELIZA A. HAWKINS, *
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Plaintiff, *
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Vv. *
*
THE UNITED STATES, *
*
Defendant. *
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ORDER

The government has moved to dismiss this case, brought by pro se plaintiff
Flordeliza A. Hawkins, for lack of subject-matter jurisdiction. See Def.’s Mot. to
Dismiss, ECF No. 7. This case presents allegations nearly-identical to those
contained in Hawkins v. United States, No. 19-1672C, which in turn repackaged
claims from a case Mrs. Hawkins had previously brought in this court and were
dismissed for lack of subject-matter jurisdiction, see Hawkins v. United States, No.
18-78L, 2018 WL 3214048 (Fed. Cl. June 29, 2018), aff'd, 748 F. App’x 325 (Fed. Cir.
2019). The only substantial differences between this case and case No. 19-1672C
are that Mrs. Hawkins placed on the complaint in this one the docket number from
a Supreme Court denial of her petition for a writ of certiorari,! requested rehef from
that judgment under Rule 60 of the Rules of the United States Court of Federal
Claims (RCFC), and said very little concerning the U.S. Department of Housing and
Urban Development (HUD). See Compl. at 1, 6-7; see also Ex. to Compl. at 3.

To the extent the allegations in the complaint in this case differ from those in
Mrs. Hawkins’s case No. 19-1672C, they do not involve matters within our court's
jurisdiction. As the Court previously explained to Mrs. Hawkins, “[uJnder RCFC
60, our court may only set aside one of its own prior judgments, not those of other
courts.” Hawkins, 2018 WL 3214048, at *6 (citing Haddad v. United States, Nos.

 

+ See Hawkins v. SunTrust Bank, 140 5. Ct. 1385 (2019) (denying petition).

 

 
Case 1:19-cv-01794-VJW Document 13 Filed 09/30/21 Page 2 of 2

15-640C & 15-820C, 2015 WL 7730938, at *2 n.6 (Fed. Cl. Nov. 30, 2015) (citing
Carney v. United States, 199 Ct. Cl. 160, 162-64 (1972))). Moreover, our court does
not have jurisdiction to review the decisions of other federal courts, and particularly
not those of the Supreme Court. See Norington v. United States, No. 16-1020C,
2016 WL 6879549, at *1 (Fed. Cl. Nov. 22, 2016); see also Earl v. United States, 787
F. App'x 751, 752 (Fed. Cir. 2019) (“[T]he Claims Court is without jurisdiction to
scrutinize the actions of another tribunal.’).

The rest of the allegations in this case, concerning the actions of the private
party SunTrust Bank and the non-federal governmental entities South Carolina
Department of Social Services and the Anderson County Sheriff's Office, and a
purported contract with HUD, are beyond our jurisdiction for the reasons stated in
the Memorandum and Opinion filed today in Mrs. Hawkins’s other case. See
Hawkins v. United States, No. 19-1672C, ECF No. 19 (Sept. 30, 2021). In brief, we
lack jurisdiction over claims against private parties or against state and local
governmental entities, see United States v. Sherwood, 312 U.S. 584, 588 (1941); 28
U.S.C. § 1491(a)(1); and Mrs. Hawkins is precluded from re-litigating the Court’s
prior determination that she failed to properly plead the existence of a contract with
the federal government, see Hawkins, 2018 WL 3214048, at *5; Shell Petroleum,
Inc. v. United States, 319 F.3d 1334, 1338 (Fed. Cir. 2003) (identifying elements of
issue preclusion).

Although the Court is sympathetic to Mrs. Hawkins’s situation, we have not
been given the power by Congress to address the claims she seeks to advance in this
case. Accordingly, for the reasons stated above, and as more fully explained in the
companion case No. 19-1672C, the government's motion to dismiss this case for lack
for subject-matter jurisdiction, under RCFC 12(b)(1), is GRANTED. The Clerk

shall close the case.

IT IS SO ORDERED. La Lif.

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